                         Case 3:22-cv-04552-AMO           Document 23   Filed 06/02/25    Page 1 of 4




                  1      QUINN EMANUEL URQUHART &                       ALYSSA CARIDIS (STATE BAR NO.
                         SULLIVAN, LLP                                  260103)
                  2      Patrick D. Curran (Bar No. 241630)             acaridis@orrick.com
                         patrickcurran@quinnemanuel.com                 ORRICK, HERRINGTON & SUTCLIFFE
                  3      111 Huntington Ave., Suite 520                 LLP
                         Boston, Massachusetts 02199                    The Orrick Building
                  4      Telephone: (617) 712-7100                      405 Howard Street
                         Facsimile:    (617) 712-7200                   San Francisco, CA 94105-2669
                  5                                                     Telephone: +1 415 773 5700
                                                                        Facsimile: +1 415 773 5759
                  6      Attorneys for GOOGLE LLC
                                                                        Attorneys for Defendant Sonos, Inc.
                  7

                  8
                                                       UNITED STATES DISTRICT COURT
                  9                                  NORTHERN DISTRICT OF CALIFORNIA
                                                          SAN FRANCISCO DIVISION
                10

                11       GOOGLE LLC,
                                                                          Case No. 3:22-cv-04552-AMO
                12                      Plaintiff,
                                                                          JOINT STATUS REPORT
                13                              v.                        PURSUANT TO DKT. 22
                14       SONOS, INC.,
                15
                                        Defendants.
                16

                17

                18

                19

                20

                21

                22

                23

                24

                25

                26
                27

                28

                                                                                             Case No. 3:22-cv-04552-AMO
01980-00201/15909582.1                                                                                  Joint Status Report
                         Case 3:22-cv-04552-AMO       Document 23          Filed 06/02/25   Page 2 of 4




                  1          Pursuant to the Court’s order of November 20, 2024 (Dkt. 22), Plaintiff Google LLC

                  2 (“Google”) and Defendant Sonos, Inc. (“Sonos”) submit this joint status report regarding this case.

                  3          On August 8, 2022, Google filed its complaint asserting infringement U.S. Patent Nos.

                  4 10,593,330, 10,134,398, and 7,705,565 (the “’330 Patent,” “’398 Patent,” and “’565 Patent,”

                  5 respectively). Dkt. 1.

                  6          On August 9, 2022, Google filed a complaint in the ITC alleging a violation of Section 337

                  7 of the Tariff Act of 1930, as amended, 19 U.S.C. § 1337 (“Section 337”) based on alleged

                  8 infringement of the same three patents. The ITC instituted an Investigation responsive to Google’s

                  9 complaint, styled ITC Investigation No. 337-TA-1329 (“the 1329 Investigation”).

                10           On September 12, 2022, this Court stayed this case pending the disposition of the 1329

                11 Investigation. Dkt. 13.

                12           On October 18, 2022, the ITC terminated the 1329 Investigation as to the ’565 Patent.

                13           On May 17, 2023, Sonos moved for summary determination in the 1329 Investigation that

                14 the ’330 and ’398 Patents are invalid under 35 U.S.C. § 112 as indefinite. Google opposed this

                15 motion.

                16           On May 15, 2024, the U.S. Patent Trial and Appeal Board (“PTAB”) found the asserted

                17 claims of the ’398 Patent and the ’330 Patent invalid under 35 U.S.C. §§ 102, 103. Google has

                18 appealed these decisions to the Federal Circuit. Google filed its opening appeal brief on November

                19 18, 2024, Sonos filed its response brief on February 26, 2025, and Google filed its reply brief on

                20 April 9, 2025. The parties will promptly inform the Court once a decision from the Federal Circuit

                21 is received.

                22           On July 31, 2024, Sonos moved again for summary determination in the 1329 Investigation

                23 that the ’398 Patent and ’330 Patent are invalid for the same reasons that the PTAB concluded these

                24 patents were invalid. Google opposed this motion.

                25           On March 7, 2025, the presiding administrative law judge (“ALJ”) in the 1329 Investigation

                26 issued a claim construction order finding the asserted claims of the ’330 Patent and ’398 Patent
                27 invalid as indefinite, and issued an initial determination granting Sonos’ first motion for summary

                28 determination of invalidity based on indefiniteness. On the same day, the ALJ issued an order

                                                                     -1-                       Case No. 3:22-cv-04552-AMO
01980-00201/15909582.1                                                                                    Joint Status Report
                         Case 3:22-cv-04552-AMO           Document 23          Filed 06/02/25    Page 3 of 4




                  1 denying Sonos’ motion for summary determination that the ’398 Patent and ’330 Patent are invalid

                  2 for the same reasons that the PTAB concluded these patents were invalid.

                  3            Google has filed a petition for Commission review of the ALJ’s initial determination

                  4 granting Sonos’ motion for summary determination based on indefiniteness. Sonos’ response to

                  5 Google’s petition for review is due on June 5, 2025.

                  6            The target date in the 1329 Investigation is currently July 7, 2025.

                  7            The parties agree that pursuant to 28 U.S.C. § 1659 this case should remain stayed until a

                  8 decision from the Commission in the 1329 Investigation becomes final. The parties will promptly

                  9 inform the Court once that occurs.

                10

                11             Respectfully submitted,

                12       Dated: June 2, 2025                                     Respectfully submitted,

                13       /s/ Patrick Curran                                      /s/ Alyssa Caridis
                         Patrick Curran                                          Alyssa Caridis
                14       Attorneys for GOOGLE LLC                                Attorneys for SONOS INC.
                15       QUINN EMANUEL URQUHART &                                ORRICK, HERRINGTON & SUTCLIFFE
                         SULLIVAN, LLP                                           LLP
                16

                17       Counsel for Plaintiff Google LLC                        Counsel for Defendant Sonos Inc.
                18

                19

                20

                21

                22

                23

                24

                25

                26
                27

                28

                                                                         -2-                          Case No. 3:22-cv-04552-AMO
01980-00201/15909582.1                                                                                           Joint Status Report
                         Case 3:22-cv-04552-AMO        Document 23          Filed 06/02/25   Page 4 of 4




                  1                                        ECF ATTESTATION

                  2           I, Patrick Curran, am the ECF User whose ID and password are being used to file this JOINT

                  3 CASE MANAGEMENT STATEMENT. In compliance with General Order 45, X.B., I hereby attest

                  4 that Counsel for Sonos has concurred in this filing.

                  5      Dated: June 2, 2025
                                                                               By: /s/ Patrick Curran
                  6

                  7

                  8

                  9

                10

                11

                12

                13

                14

                15

                16

                17

                18

                19

                20

                21

                22

                23

                24

                25

                26
                27

                28

                                                                      -3-                       Case No. 3:22-cv-04552-AMO
01980-00201/15909582.1                                                                                     Joint Status Report
